     Case: 1:17-md-02804 Doc #: 1403 Filed: 03/01/19 1 of 11. PageID #: 38720




                        UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION


IN RE NATIONAL PRESCRIPTION                                                    MDL No. 2804
OPIATE LITIGATION                                                          CASE NO.: 1:17-MD-
2804
                                                                           Hon. Dan A. Polster

THIS DOCUMENT RELATES TO ALL CASES



                 RESPONSE TO MOTION TO MODIFY CMO-1
            TO PROVIDEA MECHANISM TO DISMISS IMPROPERLY
                         NAMED DEFENDANTS

        The PEC files this Response to Kroger’s Motion to Modify CMO-1 to Provide a

Mechanism to Dismiss Improperly Named Defendants.1 [Doc # 1350] Defendants ask

this Court to amend CMO-1 to provide a deadlines for Plaintiffs to dismiss distributor

defendants: 1) who are named in error by plaintiffs located where the defendant has

or had no physical or business presence during the relevant time period; and 2)

defendants who are named by plaintiffs located where the defendant is responsible

for no more than 5% of the market share of opioids distributed. For the reasons noted

below, the Motion should be denied.

                               PROCEDURAL BACKGROUND

        In this Court’s November 8, 2018 Order, the Court Ordered that the PEC make

available reports derived from the ARCOS data that list, for every county or county

equivalent, all manufacturers, distributors and pharmacies that manufactured,


1Defendants Rite Aid of Maryland, Inc., HBC Service Company and Discount Drug Mart, Inc. joined this Motion
and all moving Defendants will be referred to collectively herein as “Defendants”


                                                     1
    Case: 1:17-md-02804 Doc #: 1403 Filed: 03/01/19 2 of 11. PageID #: 38721




distributed or sold of the prescription opioids distributed in that count. [Doc# 1106].

The Court further required the reports include the following:

               (1)   Manufacturer Reports reflecting the names of all labelers
       who manufactured and/or labeled more than five percent of the market
       share of opioids distributed in the relevant county or county-equivalent
       in at least three of the nine years available in the ARCOS data;

              (2)    Distributor Reports reflecting the name of each distributor
       who distributed more than five percent (5%) of the market share of
       opioids distributed in the relevant county or county-equivalent in at
       least three of the nine years available in the ARCOS data;

            (3)    Pharmacy Reports reflecting all opioid shipments to each
       pharmacy in the relevant county or county equivalent.

Id. at 2. The Court set a deadline of March 16, 2019 for Plaintiffs in this MDL to

amend their Complaints based on the ARCOS data, including adding named

Defendants and/or dismissing Defendants. Id. at 2-3.

       In its brief, Defendant Kroger asserts that it has already been named in 100

cases where it claims it has no store or Kroger-owned pharmacies. [Doc # 1350 at 3].

Defendant Rite Aid of Maryland, Inc. claims it has been “improperly named in at least

65 cases.” Id. at fn3. Defendants HBC Service Company and Discount Drug Mart

claim to be “improperly named in at least one complaint.”         Id. The Defendants

acknowledge that there are currently over 1,500 cases in this multidistrict litigation.

Id. at 3.

       In an attempt to resolve this matter, Plaintiffs have requested that the

Defendants identify the specific cases in which they claim to be improperly named so

that the Plaintiffs can analyze whether or not to dismiss the Defendants from those




                                          2
      Case: 1:17-md-02804 Doc #: 1403 Filed: 03/01/19 3 of 11. PageID #: 38722




identified cases during the amendment process or if a legal basis exists to maintain

the Defendants as parties. Only Kroger responded.

         I.        This Court Should Deny the Defendants’ Request that the Court
                   Impose Deadlines for Dismissal of Defendants with No Presence
                   in Plaintiff Locality as Defendants Proposed Motion Process is
                   an Unnecessary Distraction for the Court and the Parties who
                   are Concentrating on Preparing the Bellwether Cases for Trial.

                   A. Defendants’ Proposal creates an inappropriate bright line
                   test.

         Defendants are asking this Court to create and apply a bright line test in

determining whether jurisdiction exists over the Defendants in localities2 in which it

claims there is either no store or store-owned pharmacy. This bright line test is

inappropriate as the circumstances require a case-by-case analysis of the geography

surrounding each such locality. In many instances, the locality is either rural, with

limited resources which necessitates that citizens travel to a neighboring locality to

obtain prescriptions. In other instances, the locality shares a border with another

locality wherein a store or store-owned pharmacy is located. In such cases, it is

feasible that some residents would cross the border in order to fill prescriptions.

         For instance, a sample review of Kroger’s list reveals instances there was not

a Kroger or Kroger Pharmacy within the corporate limits of Plaintiff’s locality, but

there is a Kroger Pharmacy either actually within the jurisdiction or within a

reasonably short travel distance. For example, Kroger identified San Bernardino

County, CA and El Dorado County, CA as two of the cases in which it was improperly


2 For consistency, Plaintiffs adopt the use of Defendants’ term “localities” to convey the point that the plaintiffs include
towns, cities, and various communities united by a central form of local government that encompass a distinct area
limited by identifiable boundaries. [Doc # 1350 at fn2].



                                                             3
       Case: 1:17-md-02804 Doc #: 1403 Filed: 03/01/19 4 of 11. PageID #: 38723




named. However, an internet search reveals that there is a Kroger-owned Ralph’s

which has a pharmacy in Fontana, California which is in San Bernardino County. As

for El Dorado County, which includes the city of Lake Tahoe, there is a Kroger-owned

Smith’s which has a pharmacy in Gardnerville, Nevada which is a mere 13.2 miles

away.

          Defendants’ motion requests a “mechanism” by which the Defendants could file

a single motion to dismiss based on the complete lack of a pharmacy in the locality

and timeframe subject to the complaint and the affected plaintiffs be given the

opportunity to agree to dismiss or respond to question of standing and jurisdiction.

In support of its request for a “mechanism” to brief the issue, Defendants contend

that the Plaintiffs lack standing and the Court lacks jurisdiction based on the

argument that “there is no rational causal connection between the harm done to the

locality and the filling of prescriptions elsewhere in the country.” [Doc # 1350 at 5-6].

          Defendants’ reliance on City of New Haven v. Purdue Pharma, L.P., et al3 in

support of its claim that this Court lacks jurisdiction is misplaced. First, the decision

by the Superior Court for the Judicial District of Hartford, Connecticut does not even

directly address the issue of whether a Plaintiff would have standing in a case against

a pharmacy that is not within the Plaintiff’s locality instead the Court merely held,

based on state law, that City’s claims for damages in the opioid cases were too

attenuated and indirect to support its claims. Id. at 8-9. Second, the ruling in City of

New Haven is directly at odds with this Court’s ruling on the issue of Article III



3   Memorandum of Decision Dismissing Cases for Lack of Jurisdiction, X07 HHD CV XX-XXXXXXX (Jan. 8, 2019).


                                                      4
    Case: 1:17-md-02804 Doc #: 1403 Filed: 03/01/19 5 of 11. PageID #: 38724




standing in The County of Summit Ohio, et al. v. Purdue Pharma, L.P., et al., Case

No. 18-op-45090. This Court overruled the Pharmacy Defendants’ Objections to the

Report and Recommendation of the United States Magistrate Judge. [Doc# 1203 at

2]. The Magistrate Judge rejected the Pharmacies’ argument that the Plaintiffs had

not suffered an “injury in fact” but only a “generalized grievance” and that Plaintiffs’

injuries were not “fairly traceable” to the Pharmacies’ conduct. [Doc # 1025 at 100-

102]. The Magistrate found that Article III standing requires: “(1) an ‘injury in fact’

(2) that is ‘fairly traceable to the challenged actions of the defendant, and not the

result of the independent action of some third party not before the court’ and (3) that

is ‘likely to be redressed by the requested relief.’” Id. (quoting Bank of Am. Corp. v.

City of Miami, 137 S.Ct. 1296, 1302 (2017); Lujan v. Defenders of Wildlife, 504 U.S.

555, 560 (1992)).

      The issue of standing is case specific. Contrary to Defendants’ claim, this

matter cannot be collectively disposed of by a single motion and response. These cases

have been stayed and there is simply no reason to lift the stay to permit the litigation

of standing and jurisdiction on some 167 cases.

      Additionally, contrary to Defendants’ assertion, this Court’s Order dismissing

Allergan’s third-party complaint against Pfizer is not relevant as this Court merely

concluded that it would not exercise supplemental jurisdiction over Allergan’s state-

law claims for contribution and indemnification. [Doc. # 1201 at 4].

      B.     Defendants’ proposal does not promote the just and efficient
             conduct of this litigation, rather, it creates an unnecessary
             burden and distraction.




                                           5
    Case: 1:17-md-02804 Doc #: 1403 Filed: 03/01/19 6 of 11. PageID #: 38725




      The process suggested by the Defendants would create an unnecessary burden

and distraction for not only the counsel but for the Special Masters and this Court.

Currently, Plaintiffs are deep in the process of determining whether to amend their

complaints to add or dismiss parties. This evaluation may moot some of Defendants’

issues with being named in particular cases.

      More importantly, however, the parties’ efforts are focused on meeting the

deadlines in the Track One Cases in which trial is scheduled in seven months. Expert

disclosures are due in a month. Expert discovery will commence immediately

thereafter. The parties are participating in weekly calls with Special Master Cohen

addressing discovery motions and other issues. In addition, discovery will soon begin

in the Track Two Cases.

      This Court established the scope of CMO-1 in order to “conserve judicial

resources, reduce duplicative service, avoid duplicative discovery, serve the

convenience of the parties and witnesses, and promote the just and efficient conduct

of this litigation.” [Doc # 232 at 1]. As part of CMO-1, this Court recognized that the

parties and the Court would be unable to meet the deadlines in CMO-1 if there was

not a limit on the filing of motions other than those permitted by the CMO-1 motions

track. Thus, CMO-1 provided: “No party may file any motion not expressly authorized

by this Order absent further Order of this Court or express agreement of the parties.”

Id. at 11, ¶6(g). At the request of the defendants, the Court also set a motion track

for “briefing on threshold legal issues on common claims.” Id. at 19. Extensive

briefing was concluded. Magistrate Ruiz now has pending before him motions to




                                          6
    Case: 1:17-md-02804 Doc #: 1403 Filed: 03/01/19 7 of 11. PageID #: 38726




dismiss in Cabell County, West Virginia (which is a CT-2 case); Broward County

Florida; Monroe County, Michigan; City of Chicago; West Boca, Florida; Cleveland

Bakers and Teamsters; State of Alabama; and the tribes of The Muscogee Creek

Nation and The Blackfeet Tribe.       Briefing these issues in multiple cases across

multiple jurisdictions is not the most efficient use of judicial resources which are best

used resolving the pending motions and the other motions that will be made in the

Case Track One and Two cases.

      C.     Defendants are not prejudiced by CMO-1 and the modification
             requested is unnecessary.

      Finally, Defendants’ claims that it is prejudiced by being named a Defendant

in localities where there is no store or store-owned pharmacy because they are

“paying an inflated and arbitrary portion of the Special Master fees” and “is impeded

from engaging in meaningful settlement discussions.” [Doc # 1350 at 3-4]. As set forth

above, the mere fact that there is no store or pharmacy in a certain locality does not

preclude a claim against the Defendants. A determination as to whether a particular

Plaintiff has standing to proceed against a particular Defendant is case specific.

      Federal Rule of Civil Procedure 53(a)(3) merely provides that “in appointing a

master, the court must consider the fairness of imposing the likely expenses on the

parties and must protect against unreasonable expense or delay.” Defendants’ claim

that they pay inflated and arbitrary portions of the Special Master fees is based on

an agreement among Defendants as to how to split the Special Master fees. This

Court merely ordered that Defendants shall bear 50% of the cost of the Special Master

and plaintiffs shall bear 50% of the cost. [Doc # 140]. This Court did not determine



                                           7
    Case: 1:17-md-02804 Doc #: 1403 Filed: 03/01/19 8 of 11. PageID #: 38727




how the Defendants split the cost amongst themselves. In fact, this Court ordered the

Defendants to come to an agreement regarding each Defendants’ share. [Doc # 229].

The defendants advised this Court that they had “agreed upon the allocation of

‘shares’ to fund the account, recognizing that those shares might be adjusted over

time for various reasons, including as new parties are added or the number of cases

in which existing defendants are named increase.” [Doc # 357].

      Thus, the remedy Defendants seek to address any perceived prejudice is not

the proper subject of motion practice or the creation of a bright line dismissal rule for

Defendants. Rather, any problem is an administrative matter that should be resolved

by the Defendants’ Executive Committee and the Special Masters with input from

the Court if necessary. Finally, Defendants provide no rationale as to how the

potential uncertainty of a minimal number of cases [100 for Kroger, 65 for Rite-Aid,

and 1 each for HBC and DDM] out of some 1,500 impedes them from engaging in

meaningful settlement discussions.




                                           8
    Case: 1:17-md-02804 Doc #: 1403 Filed: 03/01/19 9 of 11. PageID #: 38728




      II.    This Court Should Deny the Defendants’ Request that the Court
             Impose a Deadline for Dismissal of Defendants with No More
             than 5% of Market Share in Plaintiff Locality.

      The Defendants claim that the Plaintiffs should be required to “identify the

defendants responsible for no more than 5% of the share of opioids manufactured,

distributed, or sold according to the ARCOS data” and “set a deadline for a motion to

dismiss based on the isolated and limited issue of defendants’ de minimis liability.”

[Doc # 1350 at 8]. In essence, the Defendants are asking this Court to lift the stay on

these cases and permit motions for summary judgment on the issue of causation

without the benefit of discovery.

      First, the moving Defendants are Pharmacy Defendants. Plaintiffs note that

this Court’s Order did not impose a 5% threshold on ARCOS data relating to

Pharmacy Reports. [Doc # 1106 at 2-3]. Second, while this Court set forth a 5%

threshold on ARCOS data for the PEC Report pertaining to Manufacturer Reports

and Distributor Reports [id.], the Court in no way limited the Plaintiff’s naming of

Defendants to those identified by the 5% threshold. The Court merely noted that

“Plaintiffs in MDL cases may then use this information to amend their complaints….”

[Id. (footnotes omitted)]. This Court has already rejected a similar argument made by

the Defendants in opposition to the Short Form Complaint when it ruled that it “did

not intend for its order to be read so narrowly” and that “[o]f course, stating that MDL

plaintiffs may use the report to amend their complaints should not and does not

imply that they must use the report, or that they may use only the ARCOS data to

amend their pleadings.” [Doc. # 1282 at 2 (emphasis in original)]. Additionally, this

Court rejected the Defendants’ request that the Plaintiffs should be required to


                                           9
   Case: 1:17-md-02804 Doc #: 1403 Filed: 03/01/19 10 of 11. PageID #: 38729




disclose the ARCOS data on which their decision to add new defendants is based as

unnecessary because the Defendants already have the ARCOS data. [Id.]

      The Defendants have provided no compelling reason as to why this Court

should lift the stay on upward of 1,500 cases for the express purpose of summary

judgment briefing on causation in cases in which discovery has not been conducted.

                                  CONCLUSION

      Wherefore, for all of the above stated reasons, Plaintiffs respectfully request

this Court deny the Defendants’ request for modification of CMO-1 to include

deadlines for the dismissal of Defendants with no presence in a Plaintiff’s Locality

and Defendants with no more than 5% of the market share in Plaintiffs’ localities.

                                      Respectfully submitted,


                                       /s/Anthony J. Majestro___
                                      Anthony J. Majestro, Esquire (WV Bar #5165)
                                      POWELL & MAJESTRO, PLLC
                                      405 Capitol Street, Suite P1200
                                      Charleston, West Virginia 25301
                                      (304) 346-2889
                                      Fax: (304) 346-2895
                                      amajestro@powellmajestro.com

                                      Paul T. Farrell, Jr.
                                      Greene, Ketchum, Farrell,
                                      Bailey & Tweel, LLP
                                      419 - 11th Street (25701)/ P.O. Box 2389
                                      Huntington, West Virginia 25724-2389
                                      800.479.0053 or 304.525.9115
                                      Fax:    304.529.3284
                                      paul@greeneketchum.com




                                         10
   Case: 1:17-md-02804 Doc #: 1403 Filed: 03/01/19 11 of 11. PageID #: 38730




                          CERTIFICATE OF SERVICE

      I hereby certify that on March 1, 2019, I electronically filed the foregoing with

the Clerk of Court by using the CM/ECF system. Copies will be served upon counsel

of record by, and may be obtained through, the Court CM/ECF system.



                                  /s/Anthony J. Majestro___
                                 Anthony J. Majestro, Esquire (WV Bar #5165)




                                         11
